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                                       United States District Court
                                         DISTRICT OF MONTANA BILLINGS DIVISION


 UNITED STATES OF AMERICA                                                           AMENDED JUDGMENT IN A CRIMINAL CASE

 V.                                                                                 Case Number: CR 13-22-BLG-SPW-l

 JOHNTODD SCOTT                                                                     USM Number: 12348-046
 Date of Original Judgment or Last Amended Judgment:                                Evangelo Arvanetes
 10/1/2020
 Reason for Amendment:                                                              Defendant's Attorney

 □    Correction of sentence on remand (18 U.S.C. 3742(f)( 1) and (2))          □   Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or
                                                                                    3583(e))
 □    Reduction of Sentence for Changed Circumstances                           □   Modification of Imposed Term of Imprisonment for Extraordinary and
      (Fed.R.Crim.P.35(b))                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
 El   Correction of Sentence by Sentencing Court (Fed.R.Crim.P.36)              □   Modification of Imposed Term of Imprisonment for Retroactive
                                                                                    Amendment(s) top the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
 □    Correction of Sentence for Clerical Mistake (Fed.R.Crim.P.36)             □   Direct Motion to District Court Pursuant     □   28 U.S.C. § 2255 or
                                                                                          □     18 U.S.C. § 3559(c)(7)
                                                                                □   Modification of Restitution Order (18 U.S.C. § 3664)



THE DEFENDANT:
       admitted guilt to violation of conditions                                                   of the term of supervision.
 □     was found in violation of condition(s)                                                      after denial of guilt.

The defendant is adjudicated guilty of these violations:

  Violation Number                                            Nature of Violation                                                Violation Ended
           1             Defendant was terminated from sex offender treatment after the discovery of hundreds of images               7/07/2020
                               on Defendant's computer which appear to depict the sexual exploitation of minors.
                              Defendant admitted to viewing sexudly explicit images appearing to depict the sexual                    7/06/2020
                            exploitation of minors on multiple occasions. Sexually explicit images were found in the
                                          Defendant's possession after a search of the Defendant's home.

The defendant is sentenced as provided in pages 2 through 13 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                         Date of Imposjtion of Judgment




                                                                         Susan P. Walters. United States District Judge
                                                                         Name and Title of Judge

                                                                         October 2.2020
                                                                         Date
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